                             EXHIBIT C




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                          UNITED STATES BANKRUPTCY COURT

                               SOUTHERN DISTRICT OF TEXAS

                                      HOUSTON DIVISION

In re                                                Chapter 11

Refreshing USA, LLC,                                 Case No. 24-33919

                       Debtor.

In re                                                Chapter 11

Water Station Management LLC,                        Case No. 24-33924

                       Debtor.


  ORDER GRANTING DEBTORS REFRESHING USA, LLC AND WATER STATION
  MANAGEMENT LLC’S MOTION FOR AN ORDER TO (1) EMPLOY AND RETAIN
   FORCE TEN PARTNERS, LLC, AND (2) DESIGNATE BRIAN WEISS AS CHIEF
                     RESTRUCTURING OFFICER
                        [Relates to Docket No. ___]

        THIS MATTER having come before the Court upon Debtors Refreshing USA, LLC and

Water Station Management LLC’s (the “Debtors”)Motion for an Order to (1) Employ and Retain

Force Ten Partners, LLC, and (2) Designate Brian Weiss as Chief Restructuring Officer (the

“Motion”); the Court having reviewed the Motion, and the Declaration of Brian Weiss in support

thereof; and having considered the statements of counsel and the evidence adduced with respect

to the Motion at a hearing before the Court (the “Hearing”); the Court having found that (1) the

Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (2) venue is

proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409, (3) this is a core proceeding

pursuant to 28 U.S.C. § 157(b), and (4) notice of the Motion and the Hearing was sufficient

under the circumstances; and after due deliberation the Court having determined that the relief

requested in the Motion is in the best interests of Debtors, their estate and the creditors; and good

and sufficient cause having been shown;


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       IT IS HEREBY ORDERED that:

       1.      The Motion is GRANTED.

       2.      In accordance with Bankruptcy Code Section 327(a), Debtors are authorized to

retain and employ Force Ten Partners, LLC (“Force 10”) in accordance with the terms and

conditions of the Retention Agreement to provide Debtors with Mr. Weiss as Debtors’ Chief

Restructuring Officer and with Restructuring Advisory Personnel to perform the services

described in the Motion and in accordance with the Retention Agreement, effective as of October

14, 2024, subject to the following terms, which apply notwithstanding anything in the Motion or

any exhibits related thereto (including, but not limited to, the Retention Agreement) to the

contrary:

               a.      Force 10 and its affiliates shall not act in any other capacity (e.g., without

limitation, as claims agent/claims administrator, financial advisor, or investor/acquirer) in

connection with these Cases.

               b.      In the event Debtors seek to have Force 10 personnel assume executive

officer positions that are different than the positions disclosed in the Motion, or to materially

change the terms of the Retention Agreement, by either (i) modifying the functions of the

personnel, (ii) adding new personnel, or (iii) altering or expanding the scope of the Retention

Agreement, a motion to modify the retention shall be filed.

               c.      No principal, employee or independent contractor of Force 10 or its

affiliates shall serve as a director of Debtors during the pendency of these Cases.

               d.      For a period of three years after the conclusion of the engagement, neither

Force 10 nor any of its affiliates shall make any investments in Debtors or Reorganized Debtors.




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               e.      Debtors may indemnify those persons, and only those persons, serving as

executive officers on the same terms as provided to Debtors’ other officers and directors under

Debtors’ corporate bylaws and applicable state law, along with insurance coverage under

Debtors’ D&O policies.

       3.      To the extent this Order is inconsistent with the Retention Agreement, the terms

of this Order shall govern.

       4.      Force 10’s compensation shall be subject to Court approval in accordance with

Sections 330 and 331 of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and

the Local Rules of this Court, or as otherwise provided by Court order.

SIGNED _______________, 2024.




                                         __________________________________________
                                         UNITED STATES BANKRUPTCY JUDGE




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